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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 JACKI EASLICK, LLC, et al.,                                 )
                                                             )
                                     Plaintiff,              )
                                                             ) Case No. 2:23-cv-02000
                                     v.                      )
                                                             )
 CJ EMERALD, et al.,                                         )
                                                             )
                                     Defendants.             )

                                    Defendants’ Motion to Unseal Case

NOW COME certain Defendants1 (“Defendants”), by and through its undersigned counsel, and

hereby respectfully move this Honorable Court to unseal the case or, at a minimum, unseal all but

perhaps certain documents.

1. At a time unknown to Defendants, Plaintiff filed its complaint and an ex parte motion for entry

    of a temporary restraining order, which was granted.

2. At a time unknown to Defendants, Plaintiff filed a motion for leave to file under seal, which was

    granted. As of December 6, 2023, the entire case is filed under seal and cannot be accessed

    through PACER.

3. “The creditability of our system of justice is predicated on the openness of its processes and

    proceedings,” and the Third Circuit “has affirmed that there exists a common law right of public

    access to judicial proceedings and records.” Pugliano v. Grace Holmes, Inc., 2012 WL 1866380

    at *1 (W.D. Pa. May 22, 2012). “[T]he common law presumes that the public has a right of

    access to judicial materials,” which “includes the right to…inspect and copy public records and

    documents, including judicial records and documents.” In re Avandia Mktg., Sales Pracs. &

    Prod. Liab. Litig., 924 F.3d 662, 672 (3d Cir. 2019). Defendants have a particular interest in the


1 Maybeller, Nishuna, Qikita, ThinkCreators, Feperig, M.Meteorite, Robiteno, Herlloy, Jagogh Yson, Patrick Yao,

Limicounts, Colored Flag, BESTOYARD, Full of stars.min


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   evidence and record upon which the Court granted Plaintiff its extraordinary relief and

   moreover, the public has a legitimate interest in this legal proceeding’s record that outweighs the

   benefit of sealing the entire proceeding. In re Avandia Mktg., Sales Pracs. & Prod. Liab. Litig.,

   924 F.3d 662, 666 (3d Cir. 2019) (“concern about a company's public image, embarrassment, or

   reputational injury, without more, is insufficient to rebut the presumption of public access.”);

   Pepsico, Inc. v. Redmond, 46 F.3d 29 (7th Cir. 1995) (finding that sealing the entire proceedings

   was “such an extraordinary request [that] requires an extraordinary justification,” and that

   “holding trade secrets in confidence is one thing, holding entire judicial proceedings in confidence quite

   another.”) (emphasis added); Brown & Williamson Tobacco Corp. v. F.T.C., 710 F.2d 1165, 1179

   (6th Cir. 1983) (The “natural desire of parties to shield prejudicial information contained in

   judicial records from competitors and the public” is insufficient to justify seal where public

   access would not reveal legitimate trade secrets).

4. Defendants, if not other parties to the case or the public, have a substantive interest in viewing

   the case’s docket in its entirety. The TRO has already been effected against Defendants and

   their accounts have been restrained, and there is no justification or good cause for maintaining

   the entire record under seal at this point in the case. At a minimum, the case should be unsealed

   except for matters for which good cause still exists to remain sealed.

WHEREFORE, for the foregoing reasons, Defendants respectfully request that this Honorable

Court enter an Order.

A. Unsealing the case, or at least those portions for which good cause to remain sealed has not

   been shown; and

B. For any other relief as the Court deems just and proper.

Dated this December 6, 2023
                                                                    Respectfully Submitted,

                                                                    /s/Adam E. Urbanczyk


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